Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 1 of 23 PageID #: 667



                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------X
 ROMAIN PRAGE a/k/a
 ROMAINE PRAGE
                                                                      Case No.: _____________
                                     Plaintiff,
                   -against-

 KAVULICH & ASSOCIATES, P.C.,
 GARY KAVULICH, and
 SJ COOPER REALTY, LLC

                                     Defendants.
 -------------------------------------------------------------------X
                          ORIGINAL COMPLAINT AND JURY DEMAND

         Plaintiff Romain Prage (“Mr. Prage”) brings suit against a debt collection law firm,

 Kavulich & Associates, P.C., and its principal, Gary Kavulich, for violating the Fair Debt

 Collections Practices Act, 15 U.S.C § 1692 et seq., and N.Y. Gen. Bus. Law § 349 et seq, and for

 committing the tort of conversion by executing on and refusing to release Mr. Prage’s bank

 account which contained exclusively exempt funds. As Kavulich was acting as the agent for the

 judgment creditor, Plaintiff also brings suit for conversion against the judgment creditor SJ

 Cooper Realty, LLC.

         Summary of claims: Defendants restrained and attempted to seize Plaintiff’s statutorily

 exempt funds, objected to Mr. Prage’s notice of exemption without a reasonable basis to do so,

 and intentionally misstated New York law in the process (both orally and in written submissions

 to the underlying state court). Defendants then refused to withdraw their objection in the face of

 indisputable documentary evidence that the funds were entirely statutorily exempt, all for the

 purpose of attempting to coerce Mr. Prage to make payments from an exempt source and in the

 hope that Mr. Prage would default by failing to appear at state court hearings on the exemption

 objection. Incredibly, months after the state court ruled that the money in Mr. Prage’s bank

                                                         1
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 2 of 23 PageID #: 668



 account was exempt, Defendants issued yet another restraint on the same bank account.

                             A. JURISDICTION AND VENUE

 1.     The Court has federal question jurisdiction over the lawsuit because the action arises

 under the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq., (“FDCPA”). Jurisdiction

 of the Court arises under 28 U.S.C. § 1331 because this dispute involves predominant issues of

 federal law under the FDCPA. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

 2202. The Court has supplemental jurisdiction under 28 U.S.C. §1367 over Plaintiff’s state law

 claims because said claims are so related that they form part of the same case or controversy.

 2.     Venue in this District is proper because all or a substantial part of the events or omissions

 giving rise to Plaintiff’s claims occurred in Brooklyn, New York.

                           B.    PARTIES

 3.     Plaintiff Romain Prage is a natural person who resides at 420 Marlborough Road,

 Brooklyn, New York 11226.

 4.     Plaintiff is a consumer as defined by 15 U.S.C. § 1692a(3) as he is alleged to owe a debt,

 rent, arising primarily for family, household, or personal purposes.

 5.     Defendant Kavulich & Associates, P.C. (“Kavulich & Associates”) is a professional

 corporation with its principal place of business at 30 Church Street, Suite 26, New Rochelle,

 New York 10801.

 6.     Defendants Kavulich & Associates and Gary Kavulich (“Mr. Kavulich”) (collectively

 “Kavulich”) are “debt collector[s]” as defined in 15 U.S.C. §1692(a)(6) as they regularly collect

 or attempt to collect, directly or indirectly, debts owed, or due or asserted to be due another.

 Specifically, Kavulich files thousands of collection lawsuits in civil court, primarily for rent, and

                                                  2
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 3 of 23 PageID #: 669



 seeks to enforce putative debts obtained by others, primarily for rent. Many, if not most, of those

 collection lawsuits are signed by Mr. Kavulich. Kavulich also regularly executes on judgments

 obtained by other attorneys.

 7.      Defendant Gary Kavulich is a natural person. At all times relevant to this action, Mr.

 Kavulich was and is the Chief Executive Officer of Kavulich & Associates. All of the pleadings

 filed by Kavulich & Associates related to this action were signed by Mr. Kavulich.

                           C.    FACTUAL ALLEGATIONS

         The New York State Exempt Income Protection Act was enacted to prevent
         wrongful executions on exempt incomes, such as that of Mr. Prage.
 8.      In 2008, New York State enacted the Exempt Income Protection Act (“EIPA”) to (a)

 protect, inter alia, statutorily exempt income held in bank accounts from restraint—or “freeze”—

 and levy and (b) expedite and standardize the process for the release of restrained funds that are

 statutorily exempt from restraint and levy.

 9.      Prior to the enactment of EIPA, it was very common for creditors to restrain bank

 accounts that contained income protected from restraint and levy. EIPA was enacted to prevent

 such restraints.

 10.     Low-income people rely on exempt income such as Social Security, unemployment

 benefits, and other public benefits to survive and support their families; when their bank

 accounts are restrained, they are barred from accessing these much-needed funds without notice,

 and are often put into extreme financial duress as a result of these restraints. This was certainly

 true as to Mr. Prage.

 11.     Before the enactment of EIPA, it could take weeks before debtors would be able gain

 access to their exempt funds, even though state and federal law prohibits restraint and levy.

                                                  3
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 4 of 23 PageID #: 670



 12.    As the NYS legislature noted, these conditions caused many debtors to make payments of

 exempt funds to judgment creditors. “All too often . . . creditors ignore[d] calls from debtors,

 demand[ed] a debt payment as a condition of releasing the account, or insist[ed] on proof of the

 exemption.” Senate Introducer’s Memorandum in Support, NY S.6203-B (2008).

 13.    Under EIPA, when a judgment debtor’s bank account is restrained pursuant to a New

 York Court restraining notice, the judgment debtor may claim that the funds in the restrained

 account are exempt by completing an Exemption Claim Form.

 14.    Under EIPA, a judgment creditor must provide such an Exemption Claim Form to the

 judgment debtor’s banking institution along with any restraining notice.

 15.    An Exemption Claim Form must be mailed to the judgment debtor by her banking

 institution within two days of the banking institution’s receipt of the restraining notice from the

 judgment creditor.

 16.    The Exemption Claim Form must be mailed or delivered to the bank and creditor’s

 attorney within 20 days of the date of the postmark of the letter from the bank informing the

 consumer of the freeze. N.Y. CPLR 5222-a(c)(1).

 17.    To facilitate the prompt release of an account containing exempt funds, the Exemption

 Claim Form instructs judgment debtors to submit “proof” that the funds in their account are

 exempt. N.Y. CPLR 5222-a(b)(2).

 18.    Proof of an exemption can “include an award letter from the government, an annual

 statement from your pension, pay stubs, copies of checks, bank records showing the last two

 months of account activity, or other papers showing that the money in your bank account is

 exempt”. Id.


                                                 4
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 5 of 23 PageID #: 671



 19.        Where an Exemption Claim Form sent to the judgment creditor “is accompanied by

 information demonstrating that all funds in the account are exempt” the restraint is deemed void

 and the judgment creditor must instruct the banking institution to release the account within

 seven days of the postmark on the envelope containing the Exemption Claim Form. N.Y. CPLR

 5222-a(c)(4).

 20.        Where the account contains some funds from exempt sources, and other funds from

 unknown sources, otherwise known as “commingled funds,” EIPA provides that “the judgment

 creditor shall apply the lowest intermediate balance principle of accounting” 1 and “shall instruct

 the banking institution to release the exempt money in the account” within seven days of the

 postmark on the envelope containing the Exemption Claim Form. N.Y. CPLR 5222-a(c)(4).

 EIPA does not prohibit the commingling of exempt and nonexempt funds, and it does not

 provide that the commingling of funds will result in the loss of any federal or state exemption

 protections.

 21.        If the judgment creditor fails to properly release an account or exempt funds after an

 Exemption Claim Form has demonstrated that the account contains exempt funds, “the judgment

 creditor shall be deemed to have acted in bad faith and the judgment debtor may seek a court

 award of the damages, costs, fees and penalties” as provided for in EIPA. N.Y. CPLR 5222-

 a(c)(4).

 22.        After receiving the Exemption Claim Form, the judgment creditor may object to the

 claim of exemption if the judgment creditor has “a reasonable belief that [the] judgment debtor’s

 account contains funds that are not exempt from execution.” N.Y. CPLR 5222-a(d).



 1 See In re Foster, 275 F.3d 924, 927 fn. 1 (10th Cir. 2001) (describing the application of the lowest intermediate
 balance principle (“LIBP”) of accounting in the context of trusts).

                                                           5
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 6 of 23 PageID #: 672



 23.     If the judgment creditor objects, its motion papers must include an affirmation or

 affidavit in support of the motion that “demonstrate[s] a reasonable belief that [the] judgment

 debtor's account contains funds that are not exempt from execution and the amount of such

 nonexempt funds. . . . The affirmation or affidavit shall not be conclusory, but is required to

 show the factual basis upon which the reasonable belief is based.” Id.

 24.    If a judgment creditor objects to the judgment debtor’s claim of exemption, a “hearing to

 decide the motion shall be noticed for seven days after service of the moving papers.” Id.

 25.    At the hearing, “[t]he burden of proof shall be upon the judgment creditor to establish the

 amount of funds that are not exempt.” Id.

        Mr. Prage’s bank account consisted entirely of exempt unemployment benefits.

 26.    On or about June 30, 2014, Plaintiff was laid off from his job at Surgicare of Manhattan

 LLC. Soon after being laid off, he applied for unemployment benefits with the New York State

 Department of Labor (the “Department of Labor”).

 27.    Plaintiff was initially denied unemployment benefits and filed an appeal of the denial

 with the Department of Labor.

 28.    On March 4, 2015 – more than eight months after Mr. Prage’s initial application for

 benefits – the Department of Labor ruled on Mr. Prage’s appeal, reversing its initial denial and

 ruling that Mr. Prage was qualified to receive unemployment insurance benefits, retroactive to

 June 30, 2014. The Department of Labor determined that Plaintiff was eligible for $405 of

 weekly benefits for the week of June 30, 2014 through the week of September 30, 2014, and

 $420 of weekly benefits starting the week of October 6, 2015.

 29.    The Department’s reversal came as a huge relief to Mr. Prage, who was subsisting on

                                                 6
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 7 of 23 PageID #: 673



 borrowed money during the time period that the appeal was pending. With the Department of

 Labor’s reversal, Mr. Prage had hope of a more stable financial future.

 30.    Over the next four months however, Kavulich replaced this glimmer of hope with

 constant struggle by preventing Mr. Prage from accessing the life preserver of financial stability

 his long-fought-for unemployment benefits were to provide.

 31.    Between March 16, 2015 and March 25, 2015, the Department of Labor made a series of

 deposits compensating Mr. Prage for his unpaid unemployment insurance benefits. In total, the

 Department of Labor deposited $10,665.00 into a JP Morgan Chase (“Chase”) Unemployment

 Insurance Account controlled by Mr. Prage. Mr. Prage was able to access the unemployment

 benefits through a Direct Payment Card Account linked to the Unemployment Insurance

 Account.

 32.    The Unemployment Insurance Account was set up for the specific and exclusive purpose

 of receiving Plaintiff’s unemployment insurance benefits. There were no funds in the

 Unemployment Insurance Account as of March 15, 2015, and no other funds were deposited into

 the Unemployment Insurance Account in March 2015 aside from Mr. Prage’s unemployment

 insurance benefits from the Department of Labor.

 33.    The Unemployment Insurance Account can only receive deposits from the Department of

 Labor Unemployment Insurance Benefits Program. Deposits from other sources cannot be

 deposited into the Unemployment Insurance Account.

 34.     Unemployment benefits are exempt from execution, and do not lose their exempt status

 by being deposited into a bank account. See New York Labor Law § 595 (unemployment

 insurance benefits “shall not be assigned, pledged, encumbered, released, or commuted and shall


                                                 7
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 8 of 23 PageID #: 674



 be exempt from all claims of creditors and from levy, execution, and attachment, or other remedy

 for recovery or collection of a debt. This exemption may not be waived.”)

 35.    On or about March 27, 2015, Plaintiff went to a Chase branch at Newkirk Plaza, 1509

 Foster Ave, Brooklyn, NY 11230. Plaintiff transferred $5,000 from his Unemployment Insurance

 Account to a Chase savings account in Plaintiff’s name (the “Savings Account”).

 36.    At the time of the March 27, 2015 transfer the Savings Account had a balance of $0.

 37.    After the March 27, 2015 transfer the Savings Account had a balance of $5,000.

 38.    On or about March 30, 2015, Plaintiff returned to the Chase branch at Newkirk Plaza,

 1509 Foster Ave, Brooklyn, NY 11230. Plaintiff transferred another $5,000 from his

 Unemployment Insurance Account to the Savings Account.

 39.    At the time of the March 30, 2015 transfer the Savings Account had a balance of $5,000.

 40.    After the March 30, 2015 transfer the Savings Account had a balance of $10,000.

 41.    There were no other transactions associated with the Savings Account in March 2015,

 and at all times the account contained only exempt unemployment benefits.

        Defendants’ efforts to freeze and execute upon the Savings Account through a debt
        collection lawsuit brought in state court constitute abusive debt collection practices
        in violation of the FDCPA.

 42.    While the merits of the underlying collection lawsuit, resulting in a default judgment

 against Plaintiff, and Plaintiff’s subsequent efforts to vacate the default judgment, are not a basis

 for this federal action, Defendants’ behavior and activities in connection with that lawsuit

 constitute violations of FDCPA.

 43.    The underlying debt arose from an act of kindness and generosity. Mr. Prage’s now

 former girlfriend Taisha Dean was having difficulty being approved to rent an apartment. To

                                                  8
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 9 of 23 PageID #: 675



 help Ms. Dean obtain housing, on or about February 27, 2009, Mr. Prage signed as a guarantor

 for Ms. Dean on her lease agreement with SJ Cooper Realty, LLC.

 44.    At some point, Ms. Dean became delinquent on her rent, and on or about December 21,

 2010, SJ Cooper Realty, LLC, through its attorney Kavulich, brought a collection lawsuit

 seeking to collect rent allegedly owed on the apartment.

 45.    Mr. Prage was never served with summons and complaint in the collection lawsuit,

 although he did receive a copy in the mail.

 46.    On or about March 1, 2011, Mr. Prage and Ms. Dean filed separate pro se answers,

 claiming that the amount of rent claimed due was grossly inflated.

 47.    When Mr. Prage filed his pro se answer the clerk informed him that he would be notified

 of his next court date via mail. However, Mr. Prage never received any notice that a court date

 was scheduled, and accordingly, never appeared in court.

 48.    However, on information and belief Ms. Dean appeared at a court hearing on June 30,

 2011 and, without Mr. Prage’s knowledge or consent, executed a Stipulation of Settlement

 (“Stipulation”) in which she agreed to pay $2,500 to SJ Cooper Realty in monthly installments of

 $150. Ms. Dean later defaulted on the Stipulation and Kavulich entered judgment against both

 Ms. Dean and Mr. Prage.

 49.    The Stipulation contains a signature that purports to be the signature of Mr. Prage.

 However, Mr. Prage was not at the hearing where the Stipulation was signed, never signed the

 Stipulation, and had no knowledge of the Stipulation, the default on the Stipulation, or the

 judgment entered as a result of the default until years later in April 2014.

 50.    Mr. Prage first learned of the Stipulation and subsequent judgment after he received a

                                                   9
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 10 of 23 PageID #: 676



  notice from Chase on or about April 4, 2014 that his Savings Account containing his exempt

  income was frozen due to an Information Subpoena and Bank Restraint Notice (“ISBRN”) Chase

  received from Kavulich. See Exhibit A (Letter from Chase dated April 3, 2014). Mr. Prage then

  checked the New York State Unified Court System’s online e-Courts website, requested the state

  court file, and subsequently learned for the first time of the Stipulation and his forged name on

  the same.

        Kavulich not only illegally restrained Mr. Prage’s Savings Account, which exclusively
        contained exempt funds, but refused to release the account in the face of irrefutable
        documentary evidence and restrained the account a second time after the state court’s
        determination that the funds in the account were exempt. These actions constitute
        violations of FDCPA.

  51.      Kavulich restrained Mr. Prage’s Savings Account on April 3, 2014. Id. The Savings

  Account contained exclusively exempt unemployment insurance benefits transferred by Plaintiff

  on March 27, 2015 and March 30, 2015 from his Unemployment Insurance Account.

  52.      At each step along the way, from April 3, 2014, the date on which Kavulich froze Mr.

  Prage’s Savings Account, through May 22, 2014 when the state court made the judicial finding

  that the money in the account was exempt and ordered its release, Mr. Prage provided Kavulich

  more and more proof that all of the money in the account constituted exempt unemployment

  benefits. By May 8, 2015, Mr. Prage provided Kavulich with what by any standard was

  irrefutable documentary proof of complete exemption. Yet Kavulich refused to release the

  account until directly ordered to do so by the state court on May 22, 2015, and then improperly

  restrained Mr. Prage’s account yet again on July 30, 2015.

  53.      Indeed, when Mr. Prage attempted to show the attorney from Kavulich & Associates

  documents demonstrating that all of the funds in the Savings Account were exempt

  unemployment benefits, the attorney refused to review the documents stating, “I do not want to

                                                 10
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 11 of 23 PageID #: 677



  hear about your case unless you are willing to settle.”

  54.    On April 4, 2015, Mr. Prage executed the Exemption Claim Form, attached his

  unemployment award letter, and promptly and timely provided the same to both Chase and

  Kavulich. See Exhibit B.

  55.    In addition, on April 13, 2014, Chase faxed Kavulich a duplicate copy of the April 4,

  2015 executed Exemption Claim Form and supporting unemployment award letter attached as

  Exhibit B.

         Kavulich’s baseless April 16, 2015 Objection to Mr. Prage’s exemption claim

  56.    On or around April 16, 2015, Kavulich filed a motion for post-possession money

  enforcement, objecting to Plaintiff’s exemption claim and requesting a hearing (the “Objection”).

  See Exhibit C.

  57.    In support of this motion, Kavulich filed an affirmation (the “April 16 Affirmation”),

  submitted under penalty of perjury pursuant to CPLR 2106.

  58.    As previously noted, upon receiving a timely executed Exemption Claim Form, counsel

  for a judgment creditor has seven days to file an objection. The objection must include an

  affirmation or affidavit in support of the motion that “demonstrate[s] a reasonable belief that

  [the] judgment debtor's account contains funds that are not exempt from execution and the

  amount of such nonexempt funds. . . . The affirmation or affidavit shall not be conclusory, but is

  required to show the factual basis upon which the reasonable belief is based.” Id. The burden of

  proof is on the judgment creditor to demonstrate that the funds are not exempt, not on the

  consumer to demonstrate that the funds are exempt. Id.

  59.    Kavulich’s Objection rested on the following statements from the April 16 Affirmation:

                                                  11
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 12 of 23 PageID #: 678



             a. at paragraph 12, that Plaintiff’s “claim for exemption that she (sic) should not

                   have her (sic) account garnished because it contains funds from unemployment

                   cannot be granted as there is no accounting of the funds in the subject account(s)”;

             b. at paragraph 14, that “[i]f [exempt] funds were/are co-mingled with non-exempt

                   funds, the law clearly states that the otherwise exempt funds lose their protected

                   status”;

             c. at paragraph 16, that “[w]ithout comprehensive proof of what funds are in the

                   subject account(s) and that they meet the statutory requirements entitling those

                   funds to an exemption, Plaintiff/Judgment/Creditor is entitled to any non-exempt

                   funds to satisfy the underlying judgment.”

  60.    These statements were not supported by any citations and directly contradict New York

  law, as outlined above. Upon information and belief, Kavulich willfully and knowingly misstated

  New York law in the April 16 2015 Affirmation.

  61.    Defendants’ purpose in making these statements was to discourage the least sophisticated

  consumer from challenging the exemption objection, to make the consumer believe that any

  attempt to challenge the exemption would be futile, and to cause the consumer to pay from his

  exempt funds instead of challenging the exemption objection in court, no matter how meritless

  the objection.

  62.    Further, under CPLR 5222-a(d) a judgment creditor must “demonstrate a reasonable

  belief that [a] judgment debtor's account contains funds that are not exempt from execution and

  the amount of such nonexempt funds.” An affidavit or affirmation submitted by the judgment

  creditor in accordance to CPLR 5222-a(d) “is required to show the factual basis upon which the


                                                    12
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 13 of 23 PageID #: 679



  reasonable belief is based.”

  63.    The April 16, 2015 Affirmation did not show any factual basis for Kavulich’s assertion

  that funds in the Savings Account were not exempt from execution nor does the Affirmation

  state the amount in the Savings Account that Deendants reasonably believed was not exempt

  from execution, in direct contravention of N.Y. CPLR 5222-a(d). Rather, the Affirmation

  contained only boilerplate and conclusory statements in support of the Objection.

  64.    On April 24, 2015 Mr. Prage filed a pro se Order to Show Cause to vacate the default

  judgment contending he never signed the purported Stipulation. See Exhibit D.

  65.    A hearing was scheduled for April 29, 2015 on both the Order to Show Cause and the

  Kavulich Objection.

  66.    At the April 29, 2015 hearing Mr. Prage attempted to show the appearing Kavulich &

  Associates attorney the documents demonstrating that all of the money in the Savings Account

  was exempt. The Kavulich & Associates attorney refused to review the documents stating, “I do

  not want to hear about your case unless you are willing to settle.”

  67.    The April 29, 2015 hearing was adjourned to May 8, 2015, creating another opportunity

  for Mr. Prage, trying to navigate the court system as a pro se litigant, to default.

         Mr. Prage’s May 7, 2015 Affidavit provided irrefutable documentary evidence that
         the funds in the Savings Account were entirely exempt, but Kavulich still refused to
         release the money, and restrained the account again after losing in court. These acts
         violated the FDCPA.

  68.    On or about May 7, 2015, Mr. Prage executed a pro se affidavit (the “May 7 Affidavit”)

  in support his Order to Show Cause to vacate the default judgment and to challenge the Kavulich

  Objection. Mr. Prage received assistance of volunteer counsel at New Economy Project to

  prepare the pro se May 7 Affidavit and to organize supporting documents – documents the

                                                    13
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 14 of 23 PageID #: 680



  Kavulich attorney refused to even look at. See Exhibit E.

  69.    The May 7 Affidavit explained that all of the funds in the Savings Account were exempt

  funds. Plaintiff attached evidence supporting this claim including:

             a. a letter from Chase indicating that Plaintiff’s Savings Account had been restrained

                 (Chase letter April 3, 2015);

             b. a Chase account statement showing the transfer of $10,000 to the Chase Savings

                 Account on or before April 3, 2015 (these funds were transferred to the Savings

                 Account from the Unemployment Insurance Account using the Direct Payment

                 Card linked to that account) (note that the final balance in the Savings Account as

                 of April 3, 2015 was $9,925 due to legal processing fee of $75 that was charged to

                 the account as a result of the restraint) (Chase account statement March 27, 2015

                 through April 3, 2015);

             c. a Chase account statement for the Unemployment Insurance Account showing the

                 history of the direct deposits of unemployment insurance benefits into the account

                 and showing only two withdrawals from that account, each in the amount of

                 $5,000, on March 27, 2015 and March 30, 2015; importantly, the dates and

                 amounts of these withdrawals are identical to the dates and amounts of the

                 deposits into the Chase Savings Account;

             d. two unemployment insurance benefits letters dated April 16, 2014 and March 4,

                 2015 showing that the Plaintiff was receiving unemployment insurance from

                 April 16, 2014 through July 5, 2015.

         The amounts and dates of these transactions show that Mr. Prage withdrew a total of

  $10,000 from his Unemployment Insurance Account and immediately deposited all of that


                                                  14
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 15 of 23 PageID #: 681



  money into his Savings Account (using the Direct Payment Card as was required). The Savings

  Account had a zero balance before the unemployment funds were deposited, and no other funds

  had been deposited into the Savings Account at the time it was restrained. This evidence

  indisputably shows that the funds in the restrained Savings Account were entirely exempt

  unemployment benefits.

  70.    Despite receiving irrefutable proof that all of the money in the restrained bank account

  was entirely exempt unemployment benefits, Kavulich continually refused to release the account.

  71.    On or about May 8, 2015, Plaintiff and Kavulich & Associates appeared at a state court

  hearing pursuant to CPLR 5222-a(d) to determine whether the restraint on the funds in the

  Savings Account should be released..

  72.    At the May 8, 2015 hearing, Mr. Prage gave the attorney appearing for Kavulich &

  Associates the May 7 Affidavit and supporting documents. Despite this irrefutable evidence that

  the Savings Account contained only exempt funds, Kavulich refused to withdraw the Objection.

  73.    It is indisputable that the only reasons Kavulich would not withdraw its baseless and

  unsubstantiated Objection were to abuse Mr. Prage, to badger him to pay from exempt funds, and

  to make him give up. No reading of the May 7 Affidavit and supporting documents would allow

  an attorney to have any belief – much less a “reasonable belief” – that all of the restrained funds

  were not exempt.

  74.    The case was adjourned to May 22, 2015 for another hearing pursuant to CPLR 5222-

  a(d) to determine whether the restraint on the funds in the Savings Account should be released.

  Plaintiff and Defendant Kavulich & Associates appeared at the May 22, 2015 hearing where

  Kavulich & Associates proceeded to argue its meritless Objection.



                                                  15
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 16 of 23 PageID #: 682



  75.    At the May 22, 2015 hearing, Plaintiff, with the assistance of the Brooklyn Volunteer

  Lawyer for the Day Program, again provided the attorney appearing for Kavulich & Associates a

  copy of the May 7 Prage Affidavit and supporting documents.

  76.    Undeterred, Kavulich & Associates continued to argue that the Savings Account was

  properly frozen and that SJ Cooper Realty, LLC was entitled to funds from the Savings Account,

  despite irrefutable documentary evidence to the contrary.

  77.    At the May 22, 2015 hearing, the state court found that “the funds in the [Savings]

  [A]ccount are deemed exempt” and accordingly, issued an order that the “[a]ccount is released”

  and “any money taken from the account [is] to be returned to” Mr. Prage. See Exhibit F.

  78.    While the state court nonetheless denied Mr. Prage’s motion to vacate the default

  judgment, as previously noted, this action is not predicated on the the underlying judgment.

  79.    Between April 4, 2015 and May 22, 2015, Plaintiff did not have any access to the funds

  in the Savings Account. The funds in the Savings Account were released on Mary 22, 2015 as

  directed by the state court.

  80.    Incredibly, on or about July 30, 2015 Kavulich issued yet another restraint on the same

  account for which the state court previously ruled “the funds in the account are deemed exempt.”

  Id.

  81.    Mr. Prage had put no new funds into the account since May 22, 2015, making it

  indisputable that all of the funds in the account at that time were exempt and that Kavulich was

  well aware of this fact.

  82.    The July 30, 2015 restraint was not released until Mr. Prage faxed the Marshal a copy of

  the May 22, 2015 court order that “deemed exempt” all the funds in the Savings Account.

                                                 16
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 17 of 23 PageID #: 683



  Kavulich took no steps to release the restraint.

  83.      Kavulich had no good faith basis for objecting to the exemption claim – and certainly no

  basis to continue the objection after receiving the May 7, 2015 Prage Affidavit. Kavulich

  objected and stood by its objection in order to abuse and intimidate Mr. Prage into agreeing to

  send payments from his exempt funds, or in hopes that Mr. Prage would default at the hearing on

  the exemption objection.

  84.      It is the pattern and practice of Kavulich to object to exemption claims without a good

  faith basis, in order to coerce the least sophisticated consumers to pay money from exempt

  sources and in the hope that consumers will default by failing to appear at objection hearings, as

  baseless as such objections may be.

  85.      Indeed, at the May 22, 2014 hearing, the attorney for Kavulich admitted that Kavulich

  has a pattern and practice of objecting to exemption claim forms.

  86. Astonishingly, on March 9, 2016, after the commencement of this action, Kavulich again

        attempted to restrain Mr. Prage’s Chase bank account. Exhibit G.

  86.87. Defendants’ actions inflicted damages on Mr. Prage. Access to the money in his Savings

  Account was required for Mr. Prage to live and meet his most basic daily needs. Plaintiff’s

  inability to access these funds caused him suffering, financial hardship, and emotional distress.

  87.88. Throughout Defendants’ wrongful garnishment of Plaintiff’s exempt funds, Mr. Prage

  suffered emotional distress that directly impacted his daily life. Throughout this process, Mr.

  Prage felt powerless, violated, belittled, and worthless. He also felt that he was being treated like

  a criminal. Mr. Prage continuously asked himself, “how is this possible?”. He contemplated

  whether the entire thing was a scam. He went back to state court time and again, continuously


                                                     17
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 18 of 23 PageID #: 684



  telling Kavulich that the money in his Savings Account was exempt unemployment benefits; but

  Kavulich did not care. Mr. Prage could not sleep for weeks at a time and was kept up countless

  nights thinking about what to do. He began eating more as an attempted source of comfort. Mr.

  Prage was simply devastated that after finally being awarded unemployment benefits after an

  eight month appeal process, Kavulich swept in, froze his account, and attempted to seize his

  exempt benefits.

  88.89. When Mr. Prage found out that Kavulich had restrained his bank account for yet a second

  time, he was shocked, and dreaded the thought that he would be forced to “go through this all

  over again.”

  89.90. To this day, Mr. Prage lives in fear that his bank account will be improperly frozen and

  executed upon, and that his wages will be improperly garnished. This causes Mr. Prage undue

  stress and anxiety when depositing money in the bank and applying for jobs. While Mr. Prage

  would like to move forward and live a “normal life,” the threat that his money will be improperly

  restrained, making it impossible for him to pay bills, put food on the table, and otherwise lead a

  safe and healthy life, causes him grave and ongoing concern.

                             D.    COUNT # 1: Violations of the Fair Debt Collection Practices
                                   Act (Against the Kavulich Defendants)
  90.91. Plaintiff repeats and realleges each and every allegation set forth in the above paragraphs

  of this Complaint as if fully set forth herein.

  91.92. The purpose of the FDCPA is “to eliminate abusive debt collection practices by debt

  collectors, to insure that debt collectors who refrain from using abusive debt collection practices

  are not competitively disadvantaged, and to promote consistent State action to protect consumers

  against debt collection abuses.” 15 U.S.C. § 1692 (e); see also Hamilton v. United Healthcare of


                                                    18
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 19 of 23 PageID #: 685



  La., Inc. 310 F.3d 385, 392 (5th Cir. 2002) (“Congress, through the FDCPA, has legislatively

  expressed a strong public policy disfavoring dishonest, abusive, and unfair consumer debt

  collection practices, and clearly intended the FDCPA to have a broad remedial scope.”).

  92.93. Congress designed the FDCPA to be enforced primarily through private parties – such as

  plaintiff – acting as “private attorneys general.” See S. Rep. No. 382, 95th Con. 1st Sess. 5, (“[t]he

  committee views this legislation as primarily self-enforcing; consumers who have been subject to

  debt collection abuses will be enforcing compliance”); and Jacobson v. Healthcare Fin. Servs.,

  516 F.3d 85, 91 (2d Cir. 2008) (“[i]n this way, the FDCPA enlists the efforts of sophisticated

  consumers like [Plaintiff] as ‘private attorneys general’ to aid their less sophisticated

  Counterparts, who are unlikely themselves to bring suit under the Act, but who are assumed by

  the Act to benefit from the deterrent effect of civil actions brought by others.”).

  93.94. The actions of Kavulich enumerated above constitute an attempt to collect a debt or were

  taken in connection with an attempt to collect a debt within the meaning of the FDCPA.

  94.95. Kavulich violated the following sections of the FDCPA: 15 U.S.C. §§ 1692e and 1692f.

  By way of example and not limitation Defendant violated the FDCPA by taking the following

  actions in an attempt to collect a debt or in connection with an attempt to collect a debt: using

  false, deceptive, or misleading representations or means; misrepresenting the character, amount,

  or legal status of the debt; misrepresenting the services rendered or compensation which may be

  lawfully received; false representation or implication that any individual is an attorney or that

  any communication is from an attorney; threatening to take and actually taking an action

  prohibited by law; communicating or threatening to communicate to any person, credit

  information which is known or which should be known to be false; using any false, deceptive, or

  misleading representations or means; using unfair or unconscionable means; and collecting or

                                                   19
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 20 of 23 PageID #: 686



  seeking to collect any amount (including any interest, fee, charge, or expense incidental to the

  principal obligation) unless such amount is expressly authorized by the agreement creating the

  debt or permitted by law.

                              E.   COUNT # 2: Conversion (Against All Defendants)

  95.96. Plaintiff repeats and realleges each and every allegation set forth above as if reasserted

  and realleged herein.

  96.97. The elements of conversion in New York State include: 1) having a possessory interest in

  property; and 2) having the possessory interest taken or interfered with by another in a manner

  that is contrary to the possessor’s rights.

  97.98. Property subject to conversion includes readily identifiable funds from a bank account.

  98.99. Defendants intentionally and without authority, assumed and exercised control over Mr.

  Prage’s money, interfering with his right to possession of the same, by: a) causing Mr. Prage’s

  bank account to be restrained and b) by causing money to be withdrawn from Mr. Prage’s bank

  account for bank fees.

  99.100.         Defendants’ improper restraint of Mr. Prage’s money, which harmfully interfered

  with Mr. Prage’s right to control his own property, constitutes conversion.

  100.101.        For the reasons stated in the above Statement of Facts, and under the

  aforementioned Counts, Defendants’ conduct is gross, wanton or deliberate, and demonstrates a

  high degree of moral culpability. The conduct demonstrates malice, insult, and/or willful or

  reckless disregard of Mr. Prage’s rights, or other aggravated acts. Defendants’ conduct evidences

  a high degree of moral culpability, or is so flagrant as to transcend mere carelessness, or

  constitutes willful or wanton negligence or recklessness to justify a punitive damage award.

                                                 20
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 21 of 23 PageID #: 687



  101.102.       For these reasons, Plaintiff is entitled to exemplary and punitive damages, in

  addition to actual damages. Actual damages are outlined in the above statement of facts, and

  incorporated by reference.

                            F.       COUNT 3: NEW YORK GENERAL BUSINESS LAW
                                     SECTION 349 ET SEQ. (AS TO KAVULICH ONLY)
  102.103.       Plaintiff repeats and realleges each and every allegation set forth above as if

  reasserted and realleged herein.

  103.104.       New York General Business Law §u349(a) prohibits "deceptive acts or practices

  in the conduct of any business, trade, or commerce, or in the furnishing of any service in this

  state…”



  104.105.       An individual “injured by reason of any violation of this section may bring an


  action in his own name to enjoin such unlawful act or practice, an action to recover his actual

  damages or fifty dollars, whichever is greater, or both such action.” N.Y. Gen. Bus. Law §


  349(h). An individual may also be awarded punitive damages.


  105.106.       As enumerated above, Kavulich violated N.Y. Gen. Bus. Law § 349 et seq. by


  using deceptive acts and practices in the conduct of their business that have broad impacts on

  consumers at large. This includes a pattern and practice of filing and maintaining objections to

  exemptions even in the face of irrefutable documentary evidence that all of the money in a

  restrained account is exempt from execution. Kavulich engages in this pattern and practice

  because it is profitable. The purpose of this pattern and practice is to pressure consumers to pay

  from exempt funds and to cause consumers to default by failing to appear at scheduled hearings.


                                                 21
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 22 of 23 PageID #: 688



  106.107.       For these reason and for the other reasons stated in the statement of facts,

  Kavulich’s conduct evidences a high degree of moral culpability, or is so flagrant as to transcend


  mere carelessness, or constitutes willful or wanton negligence or recklessness to justify a

  punitive damage award. Defendant’s wrongful and deceptive acts caused injury and damages to


  Plaintiff.


  107.108.       As a direct and proximate result of those violations of N.Y. Gen. Bus. Law § 349


  et seq, Mr. Prage suffered compensable harm and is entitled to preliminary and permanent

  injunctive relief, and to recover actual, treble, exemplary, and punitive damages, together with

  costs and attorney’s fees.


                               G.   PRAYER

  108.109.       WHEREFORE, Plaintiff requests the following relief:

          a.     A declaration that Defendants have committed the violations of law alleged in this

                 action;

          c.     Actual damages, treble, exemplary, and punitive damages;

          d.     Statutory damages under 15 U.S.C. § 1692k and under GBL § 349;

          e.     An order awarding disbursements, costs, and attorneys’ fees under 15 U.S.C. §

                 1692k and GBL § 349;

          f.     Prejudgment and post judgment interest as allowed by law;

          g.     All other relief, in law and in equity, both special and general, to which Plaintiff


                                                   22
Case 1:16-cv-01627-CBA-RLM Document 35 Filed 11/21/16 Page 23 of 23 PageID #: 689



              may be justly entitled.

  Dated: Brooklyn, New York
         November 18, 2016
                                        Respectfully submitted,
                                               /s/
                                        ______________________________
                                        Susan Shin
                                        NEW ECONOMY PROJECT
                                        121 West 27th Street, Suite 804
                                        New York, NY 10001
                                        Phone: (212) 680-5100
                                        Fax: (212) 680-5104
                                        Email: susan@neweconomynyc.org

                                               /s/
                                        ______________________________
                                        Ahmad Keshavarz
                                        The Law Office of Ahmad Keshavarz
                                        16 Court St., 26th Floor
                                        Brooklyn, NY 11241-1026
                                        Phone: (718) 522-7900
                                        Fax: (877) 496-7809
                                        Email: ahmad@NewYorkConsumerAttorney.com




                                                23
